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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                               *
                                                       *
v.                                                     *               Crim. No. CCB-07-064
                                                       *
DAVID ELLERBY                                          *
                                                       *
*    *   *    * *     *   *    *   *   *    *    *   * * *       *   *   *    *   *    *   *    *   *    *   *   *

                                                MEMORANDUM

         On May 12, 2020, the court granted David Ellerby’s motion for a reduced sentence

pursuant to Section 404 of the First Step Act. (ECF 319, 320). Ellerby was released from federal

custody shortly thereafter. Now pending are the government’s motions for a stay of judgment

(ECF 321), and for reconsideration and resentencing, (ECF 322). The motions are fully briefed,

and no hearing is necessary.1 For the reasons explained below, both motions will be denied.

                                                BACKGROUND

         The facts and procedural history of Ellerby’s case are more fully set out in the court’s

May 12, 2020, Memorandum, (ECF 319), and the court here recites only the minimum facts

necessary to decide the present motions.

         Ellerby was sentenced in 2008 to life in prison for selling crack cocaine. In 2016,

pursuant to an agreement with the government whereby Ellerby waived his right to file any

future post-conviction motions (except those “not related to the substance of his case or his

sentence”), Ellerby’s sentence was reduced to twenty years (the “2016 Agreement”). (ECF 287).

In 2019, Ellerby filed a motion for a reduced sentence under Section 404 of the First Step Act of


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  Ellerby also filed a motion for leave to file a surreply. (ECF 330). The motion will be granted and the attached
proposed surreply (ECF 330-1) will be considered. Nevertheless, the issue addressed in the surreply is the
government’s assertion that Ellerby recently “threatened the life of a person whom he believed had aggrieved him in
the past.” (ECF 329 at 4). While any new allegations against Ellerby are outside the scope of the present motions,
the court notes his vigorous denial of the allegation.


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2018. (ECF 308). The government opposed the motion, arguing in part that Ellerby’s filing of a

First Step Act motion violated the 2016 Agreement. After subsequent correspondence was filed

in March and April 2020, the court ultimately found that (1) the 2016 Agreement did not

encompass First Step Act motions; (2) Ellerby was eligible for First Step Act relief; and (3) the

factors set forth in 18 U.S.C. § 3553(a) weighed in favor of imposing a reduced sentence of time

served.

          On May 12, 2020, the court ordered Ellerby’s sentence reduced to a total of time served.

At the time, Ellerby was being housed at a federal facility that was experiencing an outbreak of

COVID-19. The next day, the government filed a motion to stay the judgment for 30 days,

effectively asking the court to authorize Ellerby’s continued incarceration pending the

government’s filing of a motion for reconsideration. (ECF 321). Nowhere in the opposition to

Ellerby’s First Step Act motion, (ECF 311), nor in the later correspondence in response to the

emergency motion, (ECF 317), did the government ask for a delay of the effective date of any

decision in Ellerby’s favor on the basis that it might seek a stay pending reconsideration. The

court had no opportunity to rule on the motion to stay—to which Ellerby had not yet

responded—before Ellerby was released.

          On May 26, 2020, the government filed a motion for reconsideration of the court’s

decision to impose a reduced sentence. (ECF 322). The government argues that the court’s

conclusion regarding the inapplicability of the 2016 Agreement to Ellerby’s First Step Act

motion is in conflict with three Fourth Circuit cases—United States v. Blick, 408 F.3d 162 (4th

Cir. 2005), United States v. Archie, 771 F.3d 217 (4th Cir. 2014), and United States v. Cornette,

932 F.3d. 204 (4th Cir. 2019)—none of which were cited in the government’s opposition to the

First Step Act motion. As relief, the government asks that the court resentence Ellerby and




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impose a sentence between 20 and 25 years.

                                           ANALYSIS

       The crux of this dispute is whether Ellerby, by the 2016 Agreement, waived his right to

file a motion for a reduced sentence under Section 404 of the First Step Act. This issue was

previously briefed by the parties; the government opposed Ellerby’s First Step Act motion

largely on the basis that the 2016 Agreement precluded the motion. (See ECF 311). In the May

12, 2020, Memorandum, the court resolved this issue in Ellerby’s favor. First, the court noted

that a defendant can waive only “known right[s].” United States v. Olano, 507 U.S. 725, 733

(1993). When Ellerby entered the 2016 Agreement, he could not have known that future

legislation would enable him to seek further reduction of his sentence based on statutory changes

to the sentencing range. Second, even if the First Step Act had existed at the time of the 2016

Agreement, the court was not persuaded that the broadly worded waiver encompassed this type

of First Step Act motion. While no Court of Appeals has yet addressed the question, the court

analyzed cases from the Tenth, Seventh, and Fifth Circuits, where the courts found that broadly

worded waivers of the right to file post-conviction motions did not encompass motions filed

pursuant to 18 U.S.C. § 3582(c)(2), which authorizes sentence reductions when a sentencing

range has been lowered by the Sentencing Commission. See United States v. Chavez-Salais, 337

F.3d 1170, 1172–73 (10th Cir. 2003) (defendant’s waiver of right to challenge sentence in “any

collateral attack” did not include “his right to bring a later motion to modify his sentence under

18 U.S.C. § 3582(c)(2)”); United States v. Woods, 581 F.3d 531, 533, 536 (7th Cir. 2009),

abrogated on other grounds by United States v. Taylor, 778 F.3d 667 (7th Cir. 2015) (similar);

United States v. Cooley, 590 F.3d 293, 297 (5th Cir. 2009) (similar). Mindful that a waiver

agreement “should be interpreted narrowly against the government,” see Cooley, 590 F.3d at




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297; cf. United States v. Yooho Weon, 722 F.3d 583, 588 (4th Cir. 2013), the court found that the

2016 Agreement did not preclude Ellerby’s First Step Act motion.

        The government claims that the court’s conclusion conflicts with the Fourth Circuit cases

Blick, Archie, and Cornette. The court disagrees. In Blick, the defendant waived the right “to

appeal . . . any sentence within the maximum provided in the statute of conviction (or the manner

in which that sentence was determined)[.]” 408 F.3d at 165. On appeal, the defendant argued that

he was entitled to resentencing pursuant to United States v. Booker, 543 U.S. 220 (2005)

(declaring the federal sentencing guidelines advisory rather than mandatory), which was decided

after his sentencing. Id. at 164. The Fourth Circuit held that the appeal waiver barred the

argument, explaining that the defendant’s Booker argument was a challenge to “the manner in

which [his] sentence was determined,” which was expressly prohibited by the waiver. Id. at 170.

In Archie, the Fourth Circuit summarized its holding in Blick as follows: “We concluded Blick’s

claim was within the scope of his valid appeal waiver because, ‘[a]lthough the law changed after

Blick pled guilty, his expectations (as reflected in the plea agreement) did not.’” Archie, 771

F.3d at 222 (quoting Blick, 408 F.3d at 173)). Applying the reasoning of Blick, the Archie court

held that a defendant’s argument under Alleyne v. United States, 570 U.S. 99 (2013),2 decided

after the defendant’s sentencing, was similarly barred by the appeal waiver. Archie, 771 F.3d at

222 (“Archie’s assertion that he is entitled to the benefit of Alleyne on appeal is indistinguishable

from the appellant’s argument in Blick.”). And in Cornette, the Fourth Circuit held that the

defendant’s appeal waiver did not bar his argument “that by imposing a sentence under the now

unconstitutional residual clause of the [Armed Career Criminal Act], the district court exceeded

its statutory authority to sentence him.” See 932 F.3d at 208–09. In so holding, the Cornette court


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 In Alleyne, the Supreme Court held that “any fact that increases the mandatory minimum [sentence for a crime] is
an ‘element’ that must be submitted to the jury.” 570 U.S. at 103.


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explained:

        To be clear, this does not mean that a subsequent change in sentencing law renders
        an otherwise valid appeal waiver invalid. Our own precedent establishes that when
        a sentencing law undergoes a non-retroactive change, a defendant who waived his
        right to appeal a sentence imposed under the old regime remains bound by that
        waiver even if resentencing under the new regime might otherwise entitle him to
        new rights or subject him to different penalties.

Id. at 210 (4th Cir. 2019) (distinguishing Blick and Archie).

        The government’s invocation of Blick, Archie, and Cornette ignores a fundamental

difference between those cases and this one. Ellerby’s First Step Act motion was not an attack on

his sentence nor an argument that he was entitled to a new one. Indeed, a Section 404 First Step

Act motion is not an “appeal,” nor is it a “post-conviction motion” in the traditional sense. See

United States v. Jones, No. JKB-96-0399, ECF No. 623 at 5 (D. Md. Feb. 24, 2020) (a Section

404 First Step Act motion is “not collateral review”); cf. Woods, 581 F.3d at 537 (the

“conventional understanding of the term ‘post-conviction proceeding’” does not encompass §

3582(c)(2) motions, which do not challenge the substance of a sentence or conviction).3 Like §

3582(c)(2) motions, a motion for a reduced sentence under Section 404 of the First Step Act is

not a collateral attack; it requests that the court, in its newly-afforded discretion, impose a

reduced sentence.

        Section 404 First Step Act motions can also be analogized to motions brought pursuant to

18 U.S.C. § 3582(c)(1)(A)(i) (the “compassionate release statute”), which also was amended as

part of the First Step Act. In United States v. Burrill, the defendant waived, as part of his plea

agreement, the right to seek relief under section 3582. --- F. Supp. 3d ----, 2020 WL 1846788, at

*2 (N.D. Cal. Apr. 10, 2020). The district court found that because “[t]he First Step Act, passed


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 The government’s argument that all motions filed after Ellerby’s conviction constitute post-conviction motions
barred by the 2016 Agreement is unpersuasive, especially since the 2016 Agreement specifically excepted “motions
not related to the substance of his case or his sentence.” (See ECF 287).


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more than a year later, for the first time allowed section 3582 sentence reductions upon a

defendant’s motion,” the waiver did not encompass his right to petition the court for

compassionate release, “as he could not have ‘knowingly waived rights that were not in

existence, or even contemplated, at the time of his plea.’” Id. (quoting United States v.

Rodriguez, --- F.Supp.3d ----, 2019 WL 6311388, at *6 n.4 (N.D. Cal. Nov. 25, 2019)).4

Ellerby’s case is even stronger than the defendant’s in Burrill. Not only did Section 404 of the

First Step Act—which, like the amended compassionate release statute, provides a new vehicle

for sentence reductions—not exist when Ellerby entered into the 2016 Agreement, but also, for

the reasons explained above, it is not clear that a Section 404 First Step Act motion constitutes a

“post-conviction motion” within the meaning of the 2016 Agreement.5

         In relying on the Blick line of cases, the government also ignores those cases’ emphasis

on non-retroactivity, which further distinguish them from this one. As the Fourth Circuit

explained in Cornette, “when a sentencing law undergoes a non-retroactive change, a defendant

who waived his right to appeal a sentence imposed under the old regime remains bound by that

waiver.” 932 F.3d at 210 (emphasis added). Based on the Fourth Circuit’s own summary of its

precedent, then, it is not clear that the reasoning of Blick and Archie applies to motions brought

pursuant to Section 404 of the First Step Act, which gives retroactive effect to the provisions of



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  At least one district court has found that the right to petition for compassionate release may not be waived at all. In
United States v. Osorto, the court found that such waivers “undermine[] Congress’s intent in passing the First Step
Act” and are “inhumane.” --- F. Supp. 3d ---, 2020 WL 2323038, at *3 (N.D. Cal. May 11, 2020)
5
  The government cites to three cases for the proposition that an appeal waiver covers a defendant’s arguments
“regarding the First Step Act.” (ECF 329 at 6). None of those cases, however involve subsequent Section 404 First
Step Act motions, and are thus inapplicable. See United States v. Smith, --- F. 3d ----, 2020 WL 3026546, at *2 (6th
Cir. June 5, 2020) (defendant’s argument that the First Step Act’s narrowing of the definition of “serious” drug
felonies applied to his 21 U.S.C. § 841(b)(1)(C) sentencing enhancement was barred by appeal waiver); United
States v. Collins-Abbott, No. 19-1012, 2020 WL 2988697, at *1 (8th Cir. June 4, 2020) (defendant’s argument that
the First Step Act impacted his convictions for Hobbs Act robbery and a firearm offense was barred by appeal
waiver); United States v. Hamilton, 770 F. App’x 1003, 1004–05 (11th Cir. 2019) (defendant’s argument that the
First Step Act’s amendment to 18 U.S.C. § 3553(f) should relieve him from the applicability of the mandatory
minimum was barred by appeal waiver).


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the Fair Sentencing Act that reduced the disparity between crack and powder cocaine sentences.

United States v. Chambers, 956 F.3d 667, 671–72 (4th Cir. 2020).

         Because Blick, Archie, and Cornette do not conflict with the court’s May 12, 2020,

Memorandum and Order, the court will not reconsider its decision to reduce Ellerby’s sentence

pursuant to Section 404 of the First Step Act on that ground.6 Moreover, nowhere in its initial

response in opposition to Ellerby’s motion, (ECF 311), nor in its more recent correspondence in

opposition to the emergency motion, (ECF 317), did the government address the factors under 18

U.S.C. § 3553(a). The government also does not address them now, though it does discuss

Ellerby’s criminal history in its Reply to the motion for reconsideration. (ECF 329 at 2, 4).

Likewise, nowhere in the initial response to Ellerby’s motion nor in the correspondence did the

government ask for a delay in the effective date of any order granting First Step Act relief on the

basis that it might seek a stay pending reconsideration. The court is not moved to change its prior

decision to reduce Ellerby’s sentence on the basis of these new arguments from the government,

none of which—even had they been timely raised—persuade the court that its decision was

incorrect.

                                                CONCLUSION

         For the foregoing reasons, the motion for reconsideration and resentencing will be

denied. The motion to stay will be denied as moot. A separate order follows.
 07/09/2020
_________________                                                                        /s/
                                                                                 ______________________
Date                                                                             Catherine C. Blake
                                                                                 United States District Judge

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  The court is also not persuaded by government’s argument, raised for the first time in the Reply to the motion for
reconsideration, that certain arguments raised in Ellerby’s First Step Act motion are also precluded by the 2016
Agreement. (ECF 329 at 10). In a section of the motion addressing the § 3553(a) factors, Ellerby argued that he
would no longer be considered a career offender if sentenced today, and also stressed his good conduct over 12
years in the Bureau of Prisons. As the court found that the 2016 Agreement did not bar Ellerby’s motion, and the
Fourth Circuit has held that “the § 3553(a) factors apply in the § 404(b) context,” Chambers, 956 F.3d at 675, it was
not improper for Ellerby to raise these arguments.


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